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Attorneys for Defendant Bureau of Indian Affairs

                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

  STATE OF ALASKA, DEPARTMENT OF )
  TRANSPORTATION & PUBLIC        )
  FACILITIES,                    )
                                 ) Case No. 3:20-CV-00306-JWS
                 Plaintiff,      )
                                 )
         vs.                     )
                                 )
  2.396 ACRES MORE OR LESS NEAR  )
  BETHEL, ALASKA, et al.,        )
                                 )
                 Defendants.     )
                                 )
                                 )

DECLARATION OF AUSA JACQUELYN A. TRAINI IN SUPPORT OF
     DEFENDANT’S MOTION TO SUBSTITUTE EXPERT

      I, Jacquelyn A. Traini, declare under penalty of perjury that the

following is true:




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      1.     This case involves an eminent domain action filed by the State of

Alaska. Dkt. 1.

      2.     When preparing to defend the case, I consulted with numerous

appraisers with the advice and assistance of the Bureau of Indian Affairs, as

is our routine practice.

      3.     I was met with several rejections from qualified appraisers for this

project due to the timing of COVID-19 in Alaska as well as the remote location

of the property to be appraised in Bethel, Alaska.

      4.     I sought information from Department of Interior’s Appraisal and

Valuation Services Office (AVSO) in an attempt to find anyone who might be

willing to appraise this property.

      5.     I contacted numerous recommendations from their office and

consulted with other Department of Justice attorneys.

      6.     After an exhaustive search, I relied on the information from DOI’s

AVSO, and retained a recommended appraiser in good faith.

      7.     The expert’s contract with the United States Attorney’s Office was

issued on April 5, 2021. The contact requires that the expert comply with all

requirements of the court and any services that may exceed the amount of the

contract must be approved in advance by the USAO.

      8.     He was noticed as an expert witness in this matter on April 7,
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2022. Dkt. 44, ¶ 6.

      9.     I personally notified this expert on several occasions of the expert

reporting deadline in this case. He assured me timing would not be an issue.

      10.    On June 17, 2022, I became aware of an Order from Juneau

criticizing this expert’s professionalism and credibility.

      11.    On June 28, 2022, I spoke with the expert again about the project

and about the Juneau Order. He offered reassurance.

      12.    On July 6, 2022, the expert submitted a bill that was more than

double the amount remaining on his contract.

      13.    On July 21, 2022, Civil Chief Marie Scheperle contacted the expert

and requested a more detailed invoice and requested an estimate on the time

needed to complete his work.

      14.    On July 22, 2022, the expert submitted a second bill that was again

more than the amount of original contract, which meant that he was

requesting that the Government pay approximately three times the amount of

his original contact.

      15.    That same day, the expert notified me he required an extension “of

at least 4 weeks, and 8 weeks to be on the safe side,” to meet the reporting

deadline.

      16.    Given he had had the project for fifteen months at that point, I
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found his request unreasonable.

      17.    That same day, the expert responded to Civil Chief Scheperle’s

request and provided an estimate of his remaining work on the project which

exceeded his contracted amount by approximately twenty times.

      18.    In addition, he estimated he had approximately 430 hours of work

remaining to complete the project. At that time, there were only 160 standard

working hours until the project was due.

      19.    At that point, I immediately began working with BIA in search of

a replacement appraiser.

      20.    I have now found a willing replacement appraiser.

      21.    I communicated with Steve Tervooren and Aisha Bray, and they

both indicated they do not oppose this request.

      22.    I have acted in good faith throughout my actions described above

and did not intend to cause delay or prejudice to Plaintiff.


Date: 09/13/2022
                                             S. LANE TUCKER
                                             United States Attorney


                                             s/ Jacquelyn A. Traini
                                             Assistant U.S. Attorney
                                             United States of America

Declarations have the same legal force as affidavits. 28 U.S.C. § 1746
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CERTIFICATE OF SERVICE

I hereby certify that on September 13, 2022,
a true and correct copy of the foregoing
was served electronically to:

Aisha Tinker Bray
Assistant Attorney General
Attorney for Plaintiff

Max D. Garner
Senior Assistant Attorney General
Attorney for Plaintiff

Steven S. Tervooren
Hughes White Colbo & Tervooren, LLC
Attorneys for Defendants
Earl Polk III, Warrant Polk, Vincent Polk, and Jason Polk

s/ Jacquelyn A. Traini
Office of the U.S. Attorney




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